                                                U.S. Department of Justice


                                                United States Attorney
                                                Eastern District of New York
RCH                                             271 Cadman Plaza East
F. #2018R01123                                  Brooklyn, New York 11201



                                                February 4, 2021

By ECF

The Honorable Roanne L. Mann
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

             Re:    United States v. Kenneth Kurson
                    Docket No. 20-MJ-990 (RML).


Dear Magistrate Judge Mann:

               The government respectfully moves to dismiss the complaint as to the above
named defendant pursuant to an Executive Grant of Clemency signed by President Donald J.
Trump on January 19, 2021, a copy of which is attached hereto. Counsel for the defendant
consents to this application.

                                                Respectfully submitted,

                                                SETH D. DUCHARME
                                                Acting United States Attorney

                                          By:    /s/ Ryan C. Harris
                                                Ryan C. Harris
                                                Assistant U.S. Attorney
                                                (718) 254-6489




cc:   Clerk of the Court (RLM) (by ECF)
      Marc Mukasey, Esq. (by ECF)
